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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

          Plaintiff,

 v.                                                         Civil Case No. 1:25-cv-00916

 U.S. DEPARTMENT OF JUSTICE, et al.,

          Defendants.


       [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER

        Upon Consideration of Plaintiff Jenner & Block LLP’s Motion for a Temporary

Restraining Order (“TRO”) and accompanying memorandum, declarations, and exhibits, it is

hereby:

        ORDERED that the Motion is GRANTED; it is further

        ORDERED that the Defendants are ENJOINED from implementing or enforcing

Sections 1, 3, and 5 of the President’s March 25, 2025 Executive Order entitled “Addressing Risks

from Jenner & Block”; it is further

        ORDERED that Defendants are ENJOINED from using the statements laid out in Section

1 of the Executive Order in any interactions with Plaintiff or Plaintiff’s clients, or employee of

Plaintiff or Plaintiff’s clients; it is further

        ORDERED that Defendants are DIRECTED to suspend and rescind all guidance or other

direction provided to their officers, staff, employees, or contractors to communicate, effectuate,

implement, or enforce Sections 1, 3, and 5 of the Executive Order; it is further

        ORDERED that Defendants are DIRECTED immediately to issue guidance to their

officers, staff, employees, and contractors to disregard Sections 1, 3, and 5, of the Executive Order
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and to carry on their ordinary course of business absent these Sections of the Executive Order; it

is further

        ORDERED that Defendants are DIRECTED immediately to (1) communicate to every

recipient of a request for disclosure of any relationship with Jenner & Block LLP or any person

associated with the Firm, made pursuant to Section 3(a) of the Executive Order, that such request

is rescinded until further order of the Court; and (2) cease making such requests for disclosure,

pursuant to Section 3(a) of the Executive Order, until further order of the Court; it is further

        ORDERED that Defendants must, in good faith, take such other steps as are necessary to

prevent the enforcement or implementation of Sections 1, 3, and 5 of the Executive Order during

the effective period of this Order; it is further

        ORDERED that Defendants U.S. Department of Justice, Pamela Bondi, in her official

capacity as U.S. Attorney General; the Office of Management and Budget; and Russell Vought, in

his official capacity as director of the Office of Management and Budget, must additionally

immediately issue guidance to all other agencies subject to the Executive Order to suspend and

rescind any implementation or enforcement of Sections 1, 3, and 5 of the Executive Order,

including any reliance on the statements in Section 1 of the Order; it is further

        ORDERED that Defendants must file a status report within 24 hours of the issuance of

this Order describing the steps taken to ensure compliance with this Order and certifying

compliance with its requirements; and it is further

        ORDERED that this Order shall remain in effect until further order of this Court. IT IS

SO ORDERED.


Dated: __________________                                     _____________________________
                                                              U.S. District Judge
